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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT


SCOTT TRAUDT,
                                         CASE NO. 2:24-cv-782
                 Plaintiff,

            v.

ARI RUBINSTEIN, GTS SECURITIES LLC,
GTS EQUITY PARTNERS LLC,
GTS EXECUTION SERVICES LLC,
CHARLES W. SCHWAB AND CO. INC.,
SCHWAB HOLDINGS, INC., FINANCIAL
INDUSTRY REGULATORY AUTHORITY,

                 Defendants,

GARY GENSLER, US SECURITIES AND
EXCHANGE COMMISSION,

                 Respondent.


  DEFENDANT FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.’S
MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S MOTION TO HOLD
ALL MOTIONS TO DISMISS AND MOTIONS FOR ARBITRATION IN ABEYANCE
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       Defendant Financial Industry Regulatory Authority, Inc. (“FINRA”) files this

memorandum in opposition to Plaintiff Scott Traudt’s (“Plaintiff”) Motion to Hold all Motions to

Dismiss and Motions for Arbitration in Abeyance (ECF No. 39) (the “Abeyance Motion”).

I.     INTRODUCTION

        Plaintiff’s Abeyance Motion again disregards the orderly disposition of Plaintiff’s claims,

and it requires the Court to entertain (and FINRA to respond to) another wholly meritless motion.

In his Abeyance Motion, Plaintiff seeks to stay all of the pending motions, including the

Defendants’ dispositive motions. Instead of having the Court rule on those motions, Plaintiff asks

the Court to first rule on his requests for injunctive relief, including a request to deny FINRA’s

immunity defense in this case, which are not properly before this Court.

       There is no legal basis to delay adjudication of FINRA’s Motion to Dismiss. The Federal

Rules of Civil Procedure afford FINRA an opportunity to challenge the merits of Plaintiff’s claims

and whether they should proceed before this Court at all. Delaying a decision on FINRA’s motion

would result in judicial inefficiencies. The arguments and relief that Plaintiff asks this Court to

consider prior to deciding FINRA’s Motion to Dismiss were raised, for the first time, in his over-

length reply brief filed in support of his Motion for Limited Expedited Discovery (ECF No. 36)

(“Expedited Discovery Reply”). Because well-settled law establishes that issues raised for the

first time on reply may not be considered by the Court, the arguments and requests for relief

included in Plaintiff’s Expedited Discovery Reply are not properly before the Court. Moreover,

the requests for injunctive relief are also fatally defective because Plaintiff failed to provide FINRA

the notice required under FRCP 65 and because the Amended Complaint does not contain any

requests for injunctive relief against FINRA. Finally, even if Plaintiff’s requests for injunctive
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relief were properly before the Court (they are not), Plaintiff could not establish he has standing to

seek the requested relief.

       Put simply, while the Federal Rules of Civil Procedure do not explicitly provide for the

relief Plaintiff seeks, those same rules do explicitly provide FINRA an opportunity to challenge

the Amended Complaint. In addition, denying Plaintiff’s Abeyance Motion will not preclude him

from seeking relief from the Court or making any arguments. Accordingly, Plaintiff’s Abeyance

Motion must be denied.

II.    STATEMENT OF FACTS AND PROCEDURAL HISTORY

       A.      The Parties and Plaintiff’s Claims

       Plaintiff’s Amended Complaint in this action names as Defendants (i) GTS Securities LLC,

GTS Equity Partners LLC, GTS Execution Services, LLC, and Ari Rubenstein (the Chief

Executive Officer of GTS Securities, LLC) (collectively, the “GTS Defendants”); (ii) Charles W.

Schwab and Co., Inc. and Schwab Holdings, Inc. (the “Schwab Defendants”); and (iii) FINRA.

The Amended Complaint also identifies the Securities and Exchange Commission (“SEC”) and

the SEC’s chairman, Gary Gensler, as Respondents, against whom Plaintiff sought a Writ of

Mandamus. See ECF No. 4.1

       Plaintiff’s sole cause of action against FINRA is a civil RICO claim based on allegations

of insider trading in the MMTLP security. [See Amended Complaint, ¶¶ 186-195.] Plaintiff’s

Amended Complaint does not contain any other causes of action against FINRA, and it does not

seek any injunctive relief against FINRA.




1
 Plaintiff has since filed a motion to dismiss his claims and to withdraw his motion for a Writ of
Mandamus against the SEC and Mr. Gensler. ECF No. 46.
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       B.      The Defendants’ Responses to Plaintiff’s Amended Complaint

       Each of the Defendants has filed a motion challenging the Amended Complaint. The

Schwab Defendants responded to Plaintiff’s Amended Complaint with a Motion to Stay in Favor

of Arbitration with regard to the claims against them. ECF No. 8 (the “Schwab Motion to Compel

Arbitration”). The GTS Defendants responded to Plaintiff’s Amended Complaint with a Motion

to Dismiss all of the claims asserted against them. ECF No. 18 (the “GTS Motion to Dismiss”).

And, FINRA filed its Motion to Dismiss. ECF. No. 44 (the “FINRA Motion to Dismiss”). There

are multiple, independent grounds to dismiss Plaintiff’s RICO claim against FINRA. See generally

id.

       C.      Plaintiff’s Numerous Discovery Motions

       Before FINRA was afforded an opportunity to respond to Plaintiff’s Amended Complaint,

Plaintiff commenced his “scorched earth” efforts to obtain discovery from FINRA and other non-

parties. Those efforts began with Plaintiff issuing numerous third-party subpoenas, without notice

to FINRA and before FINRA was ever served.

       Plaintiff also filed a Motion for Expedited Discovery, which FINRA opposed. See ECF

Nos. 14 (Pl’s Motion) & 29 (FINRA Opp.). In response to FINRA’s opposition, Plaintiff filed his

over-length Expedited Discovery Reply, ECF No. 36, and a Motion for Leave to Exceed Page

Limit, ECF No. 37 (“Motion for Leave”).

       FINRA opposed the Motion for Leave because, in addition to Plaintiff’s significant

disregard for the limited length provided for in this Court’s local rules, almost the entirety of the

Expedited Discovery Reply is devoted to impertinent arguments and allegations. See generally

ECF No. 36. Among other things, Plaintiff’s Expedited Discovery Reply asks the Court to deem

certain FINRA rules unconstitutional, issue a permanent injunction to prevent FINRA and the SEC

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from enforcing their rules, hold a hearing related to Plaintiff’s challenges to FINRA’s existence,

and issue a ruling that FINRA is not entitled to immunity in this case. See ECF No. 36, pp. 25-26.

Notably, these requests for injunctive relief do not appear in Plaintiff’s Amended Complaint,

Plaintiff did not separately file any request for injunctive relief, and Plaintiff failed to give FINRA

notice as required under FRCP 65.

       Plaintiff also filed a Motion for an Evidentiary Hearing (“Hearing Motion”) seeking to

depose the FINRA witness whose affidavit was submitted in support of FINRA’s Opposition to

Plaintiff’s Motion for Expedited Discovery. ECF No. 32. FINRA opposed the Hearing Motion

because the testimony sought by Plaintiff is irrelevant to the resolution of the discovery motions

pending before the Court, and any such discovery, before deciding FINRA’s Motion to Dismiss,

is premature. See generally ECF No. 42.

       Plaintiff also filed a Motion for a Preservation Order (“Preservation Motion”), which

FINRA opposed. ECF Nos. 13 (Pl. Motion) & 31 (FINRA Opp.). Like the Expedited Discovery

Reply, Plaintiff’s reply in support of the Motion for a Preservation Order (“Preservation Reply”)

was overlength. ECF No. 43. Plaintiff, however, did not seek leave of the Court to file an

overlength reply in connection with the Preservation Motion. ECF No. 43.

       Consistent with Plaintiff’s other filings in this case, the Preservation Reply contains

misstatements of fact, irrelevant allegations, and requests for relief that have no relation to the

Preservation Motion. Among other things, the Preservation Reply relies on two blatant

misconceptions. First, Plaintiff’s personal, unsupported belief that the affidavit submitted by

FINRA in a prior lawsuit and provided to this Court for purposes of providing background

information only, establishes FINRA’s destruction of evidence. ECF No. 43 p. 3 & n.2. The

portion of the affidavit on which Plaintiff relies (Draddy Aff. ¶ 20) explains that Blue Sheet Data

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does not contain a certain type of information; but, it makes no mention that any information or

evidence was destroyed. Second, Plaintiff concludes that the assignment of a CUSIP number,

purportedly used previously for TRCH, to another security has resulted in the loss or destruction

of evidence. ECF No. 43, pp. 3-4. This accusation, however, ignores that FINRA does not assign

CUSIP numbers.2 Further, Plaintiff fails to provide any basis or support for his conclusion.

        Much like the Expedited Discovery Reply, the Preservation Reply seeks relief for which

Plaintiff fails to provide any basis. In the Preservation Reply, Plaintiff demands (a) an injunction

against the continued use of FINRA Rule 4560; (b) “an injunction against FINRA’s existence”

based on the same arguments raised in the Expedited Discovery Reply; (c) an order “[s]trip[ping]

FINRA of any immunity…”; and (d) “a Writ of Mandamus against FINRA CEO Robert Cook” to

require FINRA to reopen trading of the MMTLP stock.3 Again, none of these requests for relief

is sought in Plaintiff’s Amended Complaint, Plaintiff did not separately file any request for

injunctive relief with requisite notice to FINRA under FRCP 65, and no request for a Writ of

Mandamus as to Robert Cook or any other FINRA officer has been filed (nor would there be any

basis for such a filing).

        D.      Plaintiff’s Abeyance Motion

        The instant motion relies on the arguments and the requests for relief raised in Plaintiff’s

overlength Expedited Discovery Reply. The Abeyance Motion (ECF No. 39) argues that the Court



2
     CUSIP     numbers    are    assigned        by     CUSIP      Global     Services.         See
https://www.cusip.com/about/index.html.
3
 The MMTLP security no longer exists as Meta Materials, the company that issued that security,
cancelled the shares on December 14, 2022. See Certificate, Amendment or Withdrawal of
Designation filed by Meta Materials with the SEC on Dec. 9, 2022, located at
https://www.sec.gov/Archives/edgar/data/1431959/000119312522305648/d433696dex332.htm

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should decide the requests for relief in Plaintiff’s Expedited Discovery Reply before considering

the dispositive motions pending in this case. See ECF No. 39, p. 10 (asking the Court to ignore

the Schwab Defendants’ Motion to Compel Arbitration, the GTS Defendants’ Motion to Dismiss,

and FINRA’s Motion to Dismiss “until the Court resolves the legal questions concerning

Defendant FINRA’s immunity and its authority as a Self-Regulatory Organization”).

III.   ARGUMENT

       A.       There is no legal basis to prevent FINRA from raising threshold dispositive
                issues

            Plaintiff’s Abeyance Motion seeks to prevent this Court from considering FINRA’s

dispositive motion, which presents threshold issues that should result in a complete dismissal of

this action against FINRA. The cases cited by Plaintiff do not support the proposition that a

defendant’s right to file a dispositive motion can be held in abeyance so the Court can decide

limited issues dictated by the plaintiff. For example, Plaintiff cites Louis Vuitton Malletier S.A. v.

LY USA, Inc., 676 F3d 83, 96 (2d Cir. 2023), to argue courts can issue a stay to “control disposition

of causes with economy of time and effort for itself, for counsel, and for litigants.” However,

Louis Vuitton addressed only the Court’s ability to stay prosecution of a plaintiff’s claims, in which

case the defendant seeking the stay “bears the burden of establishing its need.” Louis Vuitton

Malletier S.A., 676 F.3d at 97. In contrast, here, Plaintiff seeks to stay his own case, and the only

proffered “need” is Plaintiff’s desire to have the Court decide his arguments and requests for relief,

while trying to avoid the Court’s consideration of dispositive arguments advanced by FINRA (and

the other Defendants).

       The remaining cases Plaintiff cites are equally unpersuasive and distinguishable. See

Loftus v. Signpost Inc., 464 F. Supp. 3d 524, 526 (S.D.N.Y. 2020) (addressing defendant’s request

to stay proceedings pending a Circuit Court decision in another case that would be dispositive in
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the case at hand); Am. Steamship Owners Mut. Prot. & Indem. Ass'n, Inc. v. Lafarge N. Am., Inc.,

474 F. Supp. 2d 474, 482–83 (S.D.N.Y. 2007), aff'd sub nom. New York Marine & Gen. Ins. Co.

v. Lafarge N. Am., Inc., 599 F.3d 102 (2d Cir. 2010) (denying a defendant’s request to stay the

plaintiff’s case and noting “[t]he party moving for a stay ‘must make out a clear case of hardship

or inequity in being required to go forward, if there is even a fair possibility that the stay for which

he prays will work damage to someone else.’”) (citations omitted).4

        Here, Plaintiff cannot reasonably argue hardship or inequity in adjudicating FINRA’s

defenses in response to the Complaint he filed in this Court. Conversely, granting the Abeyance

Motion would impose a significant hardship on FINRA because FINRA (and the other Defendants)

would be precluded from obtaining a ruling on the legal deficiencies of Plaintiff’s claims, and

would be forced to litigate only narrow issues defined by the Plaintiff.

        Indeed, a stay would create inefficiencies and not eliminate any issues from this case. For

example, even if Plaintiff did move for injunctive relief, his RICO claim against FINRA would

still be subject to dismissal for the numerous reasons set forth in FINRA’s Motion to Dismiss, and

the Court would still need to decide FINRA’s Motion to Dismiss and the motions filed by the GTS

Defendants and the Schwab Defendants. Accordingly, the Abeyance Motion should be denied.

        .




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  Plaintiff also cites Smith v. Spizzirri, 601 U.S. 472, 477–78, 144 S. Ct. 1173, 1178, 218 L. Ed. 2d
494 (2024) (ECF No. 39, pp. 3-4). Smith addresses the stay of claims referred to arbitration under
the FAA. It does not support the relief sought by Plaintiff, which would prevent adjudication of
FINRA’s threshold defenses.
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       B.      Plaintiff’s arguments and requests for injunctive relief raised for the first
               time in his Expedited Discovery Reply are not properly before the Court

       Plaintiff’s Abeyance Motion is procedurally improper because it seeks a stay to adjudicate

issues that are not properly before the Court.

       It is well-settled that arguments raised for the first time in a reply brief should not be

considered by a court. Ernst Haas Studio, Inc. v. Palm Press, Inc., 164 F.3d 110, 112 (2d Cir.

1999) (“[N]ew arguments may not be made in a reply brief, and we decline to entertain the theories

so proffered.”) (internal citation omitted); Knipe v. Skinner, 999 F.2d 708, 711 (2d Cir. 1993)

(“Arguments may not be made for the first time in a reply brief.”); Tavarez v. Moo Organic

Chocolates, LLC, 623 F. Supp. 3d 365, 370 (S.D.N.Y. 2022) (denying defendant’s request to

certify decision for interlocutory appeal raised for the first time on reply because “[g]enerally, a

court does not consider issues raised in a reply brief for the first time because if a party raises a

new argument in a reply brief the opposing party may not have an adequate opportunity to respond

to it.”); Celestin v. Martelly, 698 F. Supp. 3d 443, 468 (E.D.N.Y. 2023) (same).

       Here, Plaintiff seeks a stay and to hold all motions in abeyance so the Court can consider

Plaintiff’s arguments about FINRA’s regulatory immunity and Plaintiff’s requests for injunctive

relief, both of which were raised for the first time in Plaintiff’s Expedited Discovery Reply (ECF

No. 36). Having been raised for the first time in a reply brief, Plaintiff’s arguments and requests

for relief are not properly before the Court. In fact, the immunity defense with which Plaintiff

prematurely takes issue in his Expedited Discovery Reply is one of the grounds upon which

FINRA seeks to dismiss this case. ECF No. 44. Thus, Plaintiff is not prejudiced by having the

applicability of FINRA’s immunity defense decided in the context of FINRA’s Motion to Dismiss.




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       In addition to being raised for the first time in a reply brief, Plaintiff’s requests for

injunctive relief also suffer from other fatal defects. First, Plaintiff failed to provide FINRA with

the notice or opportunity to be heard as required by FRCP 65(a). See Fed. R. Civ. Pr. 65(a) (“The

court may issue a preliminary injunction only on notice to the adverse party”). “Compliance with

rule 65(a)(1) is mandatory” because the opposing party must be provided a “fair opportunity to

oppose the motion for a preliminary injunction” and “sufficient time to marshal his evidence and

present his arguments against the issuance of the injunction….” Rosen v. Siegel, 106 F.3d 28, 31-

32 (2d Cir. 1997) (quoting Parker v. Ryan, 960 F.2d 543, 544 (5th Cir.1992); Weitzman v. Stein,

897 F.2d 653, 657 (2d Cir.1990)). Here, unlike Plaintiff’s requests for injunctive relief, FINRA’s

Motion to Dismiss is properly before the Court. A request for an injunction that is procedurally

defective cannot justify holding FINRA’s Motion to Dismiss, which is properly before the Court,

in abeyance.5

       Finally, when a plaintiff seeks injunctive relief based on claims not pled in the complaint,

there is no basis to issue an injunction. See, e.g., Barboni v. The Republic of Argentina, 672 F.

App'x 112, 113 (2d Cir. 2016) (the “requested preliminary injunction would have afforded no

substantive relief for the breach of contract claim pursued in the complaint” and “seeks to regulate

the conduct of the parties and is entirely separable from the merits of [plaintiff’s] underlying

claim”). Much like the case in Barboni, the injunctive relief requested by Plaintiff, which seeks

relief from certain FINRA rules and challenges FINRA’s very existence, is not relief sought in the

Amended Complaint, and there are no allegations in the Amended Complaint that would be

remedied by the injunctive relief sought in Plaintiff’s reply briefs.



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 The same is true for the Schwab Defendants’ Motion to Compel Arbitration and the GTS
Defendants’ Motion to Dismiss.
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         In sum, FINRA’s Motion to Dismiss is properly before the Court and adjudication of

FINRA’s Motion to Dismiss should not be stayed in favor of issues that not properly before the

Court.

         C.     Plaintiff’s remaining arguments are unavailing.

         Plaintiff concludes his Abeyance Motion by unsuccessfully attempting to go for the

jugular. Plaintiff describes his own “Domino Theory,” espouses his personal belief that there are

legitimate grounds to “remove FINRA’s immunity,” to “dissolve [FINRA] and have its duties

properly returned to the SEC…,” to have FINRA “declared illegal,” and to place FINRA into

receivership. ECF No. 39, pp. 6-8. Plaintiff’s personal, unsupported convictions are far-fetched

at best and do not justify staying consideration of FINRA’s Motion to Dismiss, which includes

threshold defenses.

         It bears repeating that no claim asserted in this lawsuit entitles Plaintiff to seek the relief

he proposes in his reply briefs. The Amended Complaint does not assert any constitutional claims.

Further, Plaintiff has not and cannot establish that he has standing to assert claims challenging

FINRA’s rules, let alone FINRA’s very existence.            See Valley Forge Christian College v.

Americans United for Separation of Church and State, Inc., 454 U.S. 464, 472 (1982) (to establish

standing, a plaintiff must demonstrate that: (1) he has suffered an injury resulting from the

defendant’s challenged conduct; (2) the injury must be fairly traceable to the challenged conduct;

and (3) the injury is likely to be redressed by the requested relief); see also Gladstone, Realtors v.

Village of Bellwood, 441 U.S. 91, 99 (1979); Simon v. Eastern Kentucky Welfare Rights

Organization, 426 U.S. 26, 37 (1976). Accordingly, FINRA’s Motion to Dismiss, which is

properly before this Court, should be heard and decided in accordance with FRCP 12.




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IV.      CONCLUSION

             For the foregoing reasons, FINRA respectfully requests that the Court deny Plaintiff’s

Abeyance Motion and grant such other relief to which FINRA may be entitled.

         Respectfully submitted,
         September 23, 2024                            FINANCIAL INDUSTRY REGULATORY
                                                       AUTHORITY, INC.

                                                       By:     _/s/ Walter E. Judge, Jr.________
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                                                               Regulatory Authority (“FINRA”)



                                    CERTIFICATE OF SERVICE
       I, Walter E. Judge, Jr., attorney for Financial Regulatory Authority, hereby certify that on
Monday, September 23, 2024, I electronically filed with the Clerk of Court the foregoing
Memorandum Of Law In Opposition To Plaintiff’s Motion To Hold All Motions To Dismiss And
Motions For Arbitration In Abeyance using the CM / ECF system. The CM / ECF system will
provide service of such filing via Notice of Electronic Filing to counsel for the parties.


                                                 /s/ Walter E. Judge, Jr.
                                                     Walter E. Judge, Jr.



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